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UNITED STATES DISTRICT COURT FOR

THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA )
Vv. ( Criminal No. 21-CR-00312-JEB
BRADLEY STUART BENNETT, )

ELIZABETH ROSE WILLIAMS,

Defendants.

 

UNOPPOSED MOTION FOR CONTINUANCE
Elizabeth Rose Williams, through undersigned counsel, respectfully moves this
Honorable Court to continue the August 17" hearing in this case until after September 17". The
Government does not oppose this motion. Undersigned Counsel has informed the government
that additional time is needed to successfully conclude this matter. The parties agree that the
exclusion of time under the Speedy Trial Act is warranted until the next hearing date.

Respectfully submitted,

/s/ Roy R. Barrera, Jr.

ROY R. BARRERA, JR.
Texas State Bar No. 01808100
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THE BARRERA FIRM

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CERTIFICATE OF SERVICE
I, Roy R. Barrera, Jr., certify that on this day of August, 2021, I caused a copy of
the foregoing Unopposed Motion to be filed through the Electronic Case Filing (“ECF”) system

and served a copy on counsel for the government through the ECF.

‘s/f Roy R. Barrera, Jr.
ROY R. BARRERA, JR.
Attorney for
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UNITED STATES DISTRICT COURT FOR

 

THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA )
v. ( Criminal No, 21-CR-00312-JEB
BRADLEY STUART BENNETT, )
ELIZABETH ROSE WILLIAMS,
)
Defendants,
ORDER

Upon consideration of the Unopposed Motion to Continue, it is hereby
ORDERED that the Motion is GRANTED:

IT IS FURTHER ORDERED

 

SO ORDERED.

DATE: , 2021

 

THE HONORABLE JAMES E. BOASBERG
UNITED STATES DISTRICT JUDGE
